Case 2:21-cv-02281-TJH-MRW Document 21 Filed 04/29/21 Page 1 of 2 Page ID #:254



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  12   Federal Insurance Company
  13
                         UNITED STATES DISTRICT COURT
  14                    CENTRAL DISTRICT OF CALIFORNIA
  15   THE LOS ANGELES LAKERS,                 Case No. 2:21-cv-02281-AB-MRW
  16                    Plaintiff,             DEFENDANT’S NOTICE OF
                                               MOTION AND MOTION TO
  17        v.                                 DISMISS PURSUANT TO
                                               FEDERAL RULE OF CIVIL
  18   FEDERAL INSURANCE COMPANY,              PROCEDURE 12(b)(6)
  19                    Defendant.             Accompanying Documents:
                                               Memorandum
  20                                           Proposed Order
  21                                           Date: July 23, 2021
                                               Time: 10:00 a.m.
  22                                           Judge: Andre Birotte, Jr.
                                               Courtroom: 7B
  23
                                               Complaint Filed: March 15, 2021
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            DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
Case 2:21-cv-02281-TJH-MRW Document 21 Filed 04/29/21 Page 2 of 2 Page ID #:255



   1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on July 23, 2021, at 10:00 a.m., or as soon
   3   thereafter as the matter may be heard, in Courtroom 7B of the Honorable Andre
   4   Birotte, Jr., United States District Judge for the Central District of California,
   5   located at 250 West First Street, Los Angeles, California, 90012, Defendant Federal
   6   Insurance Company will and hereby does move the Court for an order dismissing
   7   Plaintiff’s Complaint in its entirety with prejudice.
   8         This Motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6) on
   9   the grounds that the Complaint fails to state a claim against Defendant for
  10   declaratory judgment, breach of contract, or breach of the implied covenant of good
  11   faith and fair dealing.
  12         This Motion is based on this Notice of Motion and Motion, the concurrently
  13   filed Memorandum of Points and Authorities, the arguments of counsel, all
  14   pleadings and papers on file in this action, and such other further written and oral
  15   argument as may be presented to the Court at the hearing on this Motion or before
  16   the Court’s decision.
  17         This Motion is made following conference of counsel under Local Rule 7-3,
  18   which took place on April 15, 2021.
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            Dated: April 29, 2021                 O’MELVENY & MYERS LLP
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                                                  DANIEL M. PETROCELLI
  21                                              RICHARD B. GOETZ
  22                                              ZOHEB P. NOORANI

  23                                              By: /s/ Daniel M. Petrocelli
                                                      Daniel M. Petrocelli
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                                                  Attorneys for Defendant
  25                                              Federal Insurance Company
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             DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
